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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

UNITED STATES OF AMERICA


      v.                                       Case No. 3:06cr458-04/RV


ROLANDO GARCIA
______________________________/
                                        ORDER
      Now pending before the court is the defendant’s “Motion for Judgment of
Acquittal and Conditional Ruling on a Motion for New Trial” (doc. 115). The
government has filed a response, and the defendant has filed a reply to that
response.
      The defendant, along with three other individuals, was charged in a two-
count indictment of possessing with intent to distribute and conspiring to possess
with intent to distribute a controlled substance, to wit, five hundred (500) grams or
more of a mixture and substance containing a detectable amount of cocaine. The
case proceeded to a jury trial against the defendant and, on February 20, 2007, he
was found guilty on both counts. The jury was then immediately discharged. After
the verdict was rendered, the defendant made an oral motion in open court ---
which counsel referred to as judgment non obstante veredicto --- and asked that I
overturn the jury’s verdict and enter a verdict for a lesser included offense. I
directed counsel to file the motion in writing and indicated that I would then
consider the arguments contained therein. Fifty-eight (58) days later, on April 19,
2007, counsel filed the now-pending motion. The government has filed a response,
arguing first that the defendant’s motion is time-barred and that, in any event, it
should be denied on the merits.


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      As for its first argument, the government contends that I have no jurisdiction
to entertain the defendant’s motion because it was filed outside the limitations
period set forth in Rule 29(c)(1) of the Federal Rules of Criminal Procedure. Rule
29(c)(1) provides that a defendant must “move” for judgment of acquittal “within 7
days after a guilty verdict or after the court discharges the jury, whichever is later.”
Here, as noted, the defendant filed his written motion fifty-eight (58) days after the
verdict was received and after the jury was discharged. The defendant argues,
however, that he timely “moved” for judgment of acquittal under Rule 29(c)(1)
when he made his oral motion in court. Although the defendant has not cited any
case law on this issue, my own research indicates that the argument has at least
some support. For example, counsel for the defendants in United States v. Navarro
Viayra, 365 F.3d 790 (9th Cir. 2004), made oral motions for judgment of acquittal
in open court immediately after the jury returned a guilty verdict. The court
“acknowledged” the motions and invited further briefing. The defendants filed their
briefs outside the Rule 29 limitations period, and the government argued that the
motions were untimely. The district court disagreed with the government and held
that the motions were timely. In affirming the district court on this point, the Ninth
Circuit stated that the government’s argument “ignores the difference between the
oral motions and the follow-up briefing. The motions were timely when made after
the verdict.” The Ninth Circuit thus concluded that “[t]he fact that an oral motion is
often followed by more detailed briefing does not change the fact that the motion
was made. The oral motions were both timely and sufficient.” Id. at 791-92.
      United States v. Williams, 2006 WL 2682827 (M.D. Ga. Sept. 18, 2006), a
district court case decided just last year, is also similar. The defendant there was
found guilty of various charges, immediately after which defense counsel made an
oral motion for judgment of acquittal. The district court, as I did in the case sub
judice, advised counsel to “put the motion in writing.” The written motion was filed


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forty-two (42) days later, and the government argued that it was untimely. In
rejecting this argument, the district court held:
             Here, Alma Williams’ counsel made an oral motion for
             judgment of acquittal immediately after the jury verdict.
             In doing so, she fulfilled the Rule 29(c) requirement that
             the motion be made within seven days of the jury verdict
             or discharge. While Alma Williams did not submit her brief
             in support of her motion until 42 days after her initial oral
             motion, this brief was not a renewal of a previously
             denied motion, as the Government asserts. Indeed, the
             July 31, 2006, colloquy between the Court and Alma
             Williams’ counsel indicated that the Court recognized the
             Motion for a Judgment of Acquittal had been made but
             would be briefed at a later date. In light of this acceptable
             sequence, Alma Williams’ motion is timely and will be
             considered.
Id. at *1 (emphasis in original); see id. at *1 n.1 (noting that the “oral motion for
judgment of acquittal immediately after the jury verdict renders the Government’s
timeliness objection irrelevant”).
      I need not, and do not, speculate as to whether the Eleventh Circuit would
align itself with the Ninth Circuit --- or accept the conclusion reached by the Middle
District of Georgia --- on this issue. Indeed, even assuming arguendo that the
defendant’s motion was timely-filed, the motion must be denied on the merits.
      In ruling on a motion for judgment of acquittal, the Eleventh Circuit has held
that a district court must view the evidence in the light most favorable to the
government, draw all inferences in its favor, and determine if a reasonable jury
“could” have found the defendant guilty beyond a reasonable doubt. See United
States v. Hansen, 262 F.3d 1217, 1236 (11th Cir. 2001). The evidence presented
in this case was such that, with all inferences drawn in the government’s favor, I
have no difficulty concluding that the jury could have found the defendant guilty
beyond a reasonable doubt. There are clearly other inferences that can be drawn


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from the evidence, but the jurors were not required to draw those inferences and,
by their verdict, they did not.
      The defendant’s motion for judgment of acquittal or for a new trial (doc.
115) must be, and is, DENIED.


      DONE AND ORDERED this 8th day of May, 2007.


                                  /s/ Roger Vinson
                                  ROGER VINSON
                                  Senior United States District Judge




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